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                        EXHIBIT F
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           MEMORANDUM
                                     To
              Michigan Independent
              Citizens Redistricting
                   Commission

                                     From

                         Stephen Markman
              Michigan Supreme Court Justice (retired)
          Professor of Constitutional Law, Hillsdale College

                   Commissioned by Hillsdale College
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                                 EXECUTIVE SUMMARY
This Memorandum addresses the Report of the Center for Local, State, and Urban Policy at the
University of Michigan, offering “Recommendations to the Michigan Independent Citizens
Redistricting Commission.” The recommendations of the Report are neither in full accord with the
language of the Amendment nor with the “common understanding” of the Amendment on the part
of the people of Michigan who ratified it.

In particular, the concept of the “community of interest” has been significantly distorted from its
previous legal usage. The Report fails to acknowledge what the term historically has meant in
Michigan—electoral boundaries built upon counties, cities, and townships, the genuine
communities of interest to which all citizens of our state equally belong. In its place, the Report
would define the “community of interest” on the basis of groups in support of and in opposition to
“public policy issues;” media markets and special assessment tax districts; “shared visions of the
future” of communities; and by introducing into the Michigan Constitution for the first time
express consideration of “race, ethnicity, and religion.” As a result, what the people of Michigan
wished to see ended by their ratification of the Amendment—a redistricting process characterized
by partisanship, self-dealing, and gerrymandering—risks being reintroduced under a different
name.

The Report’s reinterpretation of the “communities of interest” concept is predicated upon what its
author describes as a “new theory of representation.” This “new theory“ would replace the citizen
as the core of the democratic process with the interest group; it would substitute for the ideal of
equal citizenship favored and disfavored voting blocs; it would replace partisanship with ideology;
it would enhance the role of “race, ethnicity, and religion” in the construction of electoral districts;
and it seeks to build an electoral and political foundation upon the judgments of “experts” rather
than those of ordinary citizens.

The new Commission has the opportunity either to separate or to unite—to separate our people
as members of interest groups and identity categories or to unite them as equal citizens, entitled
to an equal role in the electoral process. Furthermore, the Commission is positioned to influence
similar amendments being considered by other states, which are now assessing the Michigan
experience. This memorandum presumes that in ratifying the Amendment, the people were doing
exactly what was heralded at the time: they were establishing a redistricting process at whose core
would be “voters not politicians” and not “reimagining” their democracy or experimenting with
“new theories of representation.”




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                                        MEMORANDUM

To: Commission Members
From: Stephen Markman
Re: Role of the Commission



Hillsdale College                                        last August.         This Report proposes
                                                         “Recommendations          to   the    Michigan
Hillsdale College is a private liberal arts              Independent         Citizens      Redistricting
college in Hillsdale, Michigan with a student            Commission”            [“Commission”]         in
body of approximately 1400. It was founded               implementing a state redistricting plan in
in 1844 by Free Will Baptist abolitionists and           accordance       with     the    constitutional
has long maintained a liberal arts curriculum            amendment [“Amendment”] ratified by the
grounded upon the institutions and values of             people by initiative in 2018. While the Report
Western       culture      and     Judeo-Christian       and its recommendations are thoughtful in
tradition. Since its inception, Hillsdale has            many       ways,     its    conclusions     and
been non-denominational and takes pride in               recommendations, in our judgment, are
having been the first American college to                fundamentally mistaken. The purpose of this
prohibit discrimination based upon race,                 Memorandum is to highlight the Report’s
religion, or sex in its official charter, becoming       deficiencies and to offer an alternative view
an early force in Michigan for the abolition of          that more closely adheres to the principles of
slavery. A higher percentage of Hillsdale                American constitutionalism and incorporates
students enlisted during the Civil War than              more fully the legal and constitutional history
from any other western college. Of its more              of redistricting in Michigan. Specifically, this
than 400 students who fought for the Union,              Memorandum          offers    thoughts      and
four earned the Congressional Medal of                   recommendations in support of what we
Honor, three became generals, many more                  believe to be the common interest of
served as regimental commanders, and sixty               Michigan citizens that our public institutions
students gave their lives. Many notable                  uphold principles fundamental to our State
speakers visited Hillsdale’s campus during               constitution: the principles of representative
the Civil War era, including social reformer             self-government.
and abolitionist Frederick Douglass and the
man whose remarks preceded those of                      Formative Role
Abraham Lincoln at Gettysburg, Edward
Everett. Hillsdale College plays no partisan             The     present   thirteen   Commissioners
role in American politics.                               comprise the Commission’s formative
                                                         membership and, as a result, your policies
Purpose                                                  and procedures will come to define the work
                                                         of this new institution. These policies and
Hillsdale College commissioned retired                   procedures will continue to define the
Justice of the Michigan Supreme Court                    Commission as new members join it, as new
Stephen Markman to review the Report of the              political balances arise in Michigan, and as
Center for Local, State, and Urban Policy at             new public policy controversies and partisan
the University of Michigan [“Report”] issued             disputes come to the fore. Your legacy of


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public service will determine the extent to           best to define a “community of interest,” or
which the Commission endures as an                    that reflect little historical or constitutional
institution and its reforms become                    perspective, are likely to prove shallow,
permanent. Each of you has been afforded a            sterile, and stunted.
rare opportunity to help construct the
constitutional course of our state. As with           Oath of Office
the best of public servants, you must rise to
this occasion.                                        As Commissioners, you must bear in mind
                                                      the oath you have each taken, affirming
Absence of Perspective                                support for the “Constitution of the United
                                                      States and the Constitution of this state” and
A threshold concern with the Center for               vowing to “faithfully discharge the duties of
Local, State, and Urban Policy’s Report is the        [your] office according to the best of [your]
absence of historical and constitutional              ability.” Const 1963, art 11, § 2. While you will
perspective. Of particular concern is the             exercise your own best judgments in
Report’s failure to take into adequate                satisfying these obligations, as with all who
consideration in its Recommendations                  exercise public authority, you must each
aspects of our federal and state constitutional       familiarize yourself with our federal and state
systems that may be relevant in effectively           constitutions, just as you have familiarized
and responsibly implementing the new                  yourselves with Michigan’s redistricting
Amendment. While the Amendment has                    process and the new Amendment.
removed our state redistricting process from
within the traditional purview of the                 Apol Standards
legislative power, it has not removed this
process from within the purview of our                As just one illustration, there is an absence in
Constitution. State constitutional principles         the UM Report of even a single mention of the
and values remain applicable to the work of           “Apol standards” which have guided our
the Commission, including that of judicial            state’s redistricting process for at least forty
review, as do all federal constitutional and          years in name and for far longer in practice.
legal principles and values. These may                Named after Bernard Apol, a former State
include, for example, the guarantee to every          Director of Elections, and prepared under the
state of a “republican form of government;”           leadership of Michigan Supreme Court Justice
norms of democratic electoral participation;          Charles Levin, these standards can offer
recognition of our nation as a continuing             practical guidance to the Commission in
experiment in self-government; and such               understanding and implementing the present
fundamental precepts as federalism, equal             Amendment.         The Supreme Court has
protection, due process, equal suffrage,              summarized these standards as follows:
checks and balances, and governmental
transparency.       In other words, the               1. The Senate consists of 38 districts.
Commission, as with all public bodies, does
not stand outside the “supreme law” of our            2. The House consists of 110 districts.
federal and state constitutions. For that
reason, debates and discussions within the            3. All districts shall be contiguous, single-
Commission that proceed without reference                member districts.
to any value of government larger than how



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4. The districts shall have a population not              affected by the shift, except that, in lieu of
   exceeding 108.2% and not less than                     absolute equality, the lines may be
   91.8% of the ideal district which, based on            drawn along the closest street or
   the 1980 census, would contain 243,739                 comparable boundary; between alternate
   persons in the Senate and 84,201 persons               plans, shifting the necessary number of
   in the House.                                          people, the plan which is more compact is
                                                          to be selected.
5. The boundaries of the districts shall first
   be drawn to contain only whole counties             10. Between two plans, both of which have
   to the extent this can be done within the               the same number of city and township
   16.4% range of divergence and to                        breaks within a particular county, the one
   minimize within that range the number of                that minimizes the population divergence
   county lines which are broken.                          in districts across the county is to be
                                                           selected.
6. If a county line is broken, the fewest cities
   or townships necessary to reduce the                11. Within a city or township that is
   divergence to within 16.4% shall be                     apportioned more than one senator or
   shifted; between two cities or townships,               representative, election district lines shall
   both of which will bring the district within            be drawn to achieve the maximum
   the range, the city or township with the                compactness possible within a population
   least population shall be shifted.                      range of 98%–102% of absolute equality
                                                           between districts within that city or
7. Between two plans with the same number                  township.
   of county line breaks, the one that shifts
   the fewest cities and townships statewide           12. Compactness shall be determined by
   shall be selected; if more than one plan                circumscribing each district within a circle
   shifts the same number of cities and                    of minimum radius and measuring the
   townships statewide, the plan that shifts               area, not part of the Great Lakes and not
   the fewest people in the aggregate                      part of another state, inside the circle but
   statewide to election districts that break              not inside the district. The plan to be
   county lines shall be selected.                         selected is the plan with the least area
                                                           within all the circles not within the district
8. In a county which has more than one                     circumscribed by the circle.           In re
   senator or representative, the boundaries               Apportionment State Legislature-1992,
   of the districts shall first be drawn to                439 Mich 715, 720-22.
   contain only whole cities and townships
   to the extent this can be done within the           Particular attention should be given to
   16.4% range of divergence and to                    standards 5-10, each of which in some
   minimize within that range the number of            manner gives significant regard to counties
   city and township lines that are broken.            and municipalities in Michigan’s redistricting
                                                       process. The Apol standards are emphasized
9. If a city or township line is broken, there         because: (a) they offer useful perspective to
   shall be shifted the number of people               the Commission that is missing from the
   necessary to achieve population equality            Report; (b) the Michigan Supreme Court has
   between the two election districts                  observed     that these      standards     are



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 compatible with the state constitutional                 “communities of interest”]; “communities of
 value of “autonomy of local governmental                 interest” will play a “leading role in the
 subdivisions,” a value that also goes                    process;” “[t]o be an effective representative,
 unmentioned in the Report; and (c) these                 a legislator must represent a district that has
 standards are fair-minded, neutral and non-              reasonable homogeneity of needs and
 partisan, and unrelated in any way to the                interests;” “‘communities of interest’ can pick
 public concerns that led to the present                  up the texture of bonds and interests within a
 Amendment. Those concerns—partisanship,                  political jurisdiction;” “‘communities of
 self-dealing, and gerrymandering—are in no               interest’ can capture the current patterns of
 way related to or attributable to the Apol               community life;” and “‘communities of
 standards.                                               interest’ are “primary elements of the new
                                                          redistricting process,” whose recognition by
 The Law                                                  the Commission “will lead to fairer and more
                                                          effective representation.” Although the term
 The provision central to the UM Report, as               is not well defined in the Amendment (the
 well as to this Memorandum, is Const 1963,               Amendment largely sets forth examples or
 art 4, § 6, 13 (c), which states in relevant part,       illustrations of what “may be included” within
                                                          the term), the “community of interest” is
    Districts shall reflect the state's diverse           enthusiastically embraced by the Report as
    population and communities of interest.               the dominant institution mediating between
    Communities of interest may include, but              voters and their elected officials.
    shall not be limited to, populations that
    share cultural or historical characteristics          The Citizen (1)
    or economic interests.
                                                          While the Report has much to say concerning
 Communities of Interest                                  “communities of interest,” it has little to say
                                                          concerning the American political system’s
 The UM Report makes clear its sense of the               genuine “building block,” the citizen. Each
 importance of the “communities of interest”              citizen participates in the electoral process,
 concept to the implementation of the new                 not as a component of vaguely defined
 Amendment, at least as the Report                        interest groups accredited by a governmental
 understands this concept. While recognizing              commission, but by casting his or her vote in
 that the concept is “subjective” and “not well-          accord with individual judgment and personal
 defined,” the Report nonetheless proceeds to             conscience. Yes, the citizen is a part of a
 explain its own very broad understanding of              community. But it is not a community
 this new political foundation upon which our             arbitrarily cobbled together by a public
 governmental system allegedly now rests.                 commission and its “experts” and legitimated
 “Communities of interest” comprise the new               only after a majority vote has been cast
 “building blocks” of our democracy;                      following months of public hearings and
 “communities of interest” will determine                 lobbying. And it is not a community to which
 “how well a community is represented;”                   only some citizens belong or a community in
 representatives will be assessed by how                  which its supposed members may not even
 responsive they are to the ‘community [of                have known of their affiliation until after the
 interest’s] needs;” representatives will be              community had been officially endorsed by
 “attentive”    to     “members      [of    the           the Commission. Rather, the citizen belongs



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 to a genuine “community of interest,” one to          Duties of Commission
 which all citizens belong equally and in which
 all share a common interest and influence.            The Report appears to view the lack of clarity
 And it is one whose definition requires no            and the obscurity of definition of the
 prolonged hearings or votes or expert                 “community of interest” concept as
 consultations. It is this “community of               presenting an opportunity, empowering the
 interest” that has always served as the               Commission, with the assistance of the
 foundation of our electoral process, the              “philanthropic and non-profit sectors” and
 community to which each of us belongs and             the “print and broadcast media,” to fill an
 is actually from, the community that most             empty constitutional vessel as the
 embodies our status as free and independent           Commission sees fit.             Operating in
 citizens, the community we each call home.            accordance with the Report, the Commission
                                                       is to be occupied in doing at least the
 The Citizen (2)                                       following: (a) examining the qualifications of
                                                       “interest, identity, and affinity” groups to
 To the extent American citizens are defined           determine which should be favored in the
 and officially separated by governmental              redistricting process as “communities of
 agencies on the basis of their membership in          interest;” (b) assessing which of the resulting
 arbitrarily-defined      “communities        of       “communities of interest” should be “linked”
 interest”—“communities”          defined     by       or not “linked” with other “interest, identity,
 “interest, identity and affinity” groupings, as       and affinity” groups, both within and across
 the Report proposes—we are stereotyped                electoral districts, to establish larger
 and divided as a people. If we must be                “communities of interest;” and (c) deciding
 defined in collective terms, it should only be        under which circumstances “communities of
 as part of “we the people,” in whose name our         interest” should be concentrated within a
 constitutions       were       ratified,   not        single district in order that the “community”
 compartmentalized in the most fundamental             be capable of electing a member of that
 sphere of our citizenship on the basis of             “community” as its representative, or
 considerations such as race, nationality,             dispersed among districts in order that the
 ethnicity, religion, or skin color. The first         “influence” of that “community” be more
 obligation of the Commission is to ensure the         broadly felt. Such a process is a zero-sum
 enactment of a fair-minded, neutral, and non-         game in which there are winners and losers.
 partisan redistricting process—what would be          The latter will be comprised not only of
 a    remarkable      contribution to good             “interest, identity and affinity” groups
 government if it could be achieved. It is not         rejected as “communities of interest,” but
 an obligation, as the Report instead                  also ordinary Michigan citizens, not belonging
 recommends, to assemble an electoral                  to any such “community,” and who might not
 checkerboard upon which “interest, identity,          have appreciated that such affiliation was a
 and affinity” groups can compete for electoral        prerequisite for their full exercise of equal
 advantage. Such a system would depart                 suffrage rights in the redistricting process.
 drastically from the fundamental principles of
 the consent of the governed and the equality          Rule of Law
 of all under the law, as it inevitably would
 elevate some groups of citizens, but not              What is perhaps most troubling about this
 others, to a privileged status.                       decision-making process imposed upon the


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 Commission is that it is an essentially                boundless implications of the “may include,
 standardless process. The rule of law—to               but are not limited to” language, but also the
 which the Commission, as with all public               potential breadth of other critical terms such
 bodies, must adhere—is all about standards:            as “diversity,” “cultural,” “historical,” and
 the setting of rules, criteria and procedures          “economic.” For these reasons, the term
 that are defined in advance of a decision and          “communities of interest” is correctly
 applied in an equal and consistent manner.             characterized by the Report as not only being
 Standards lie at the core of public decision-          “subjective” and “not well-defined,” but as
 making, for these ensure that the law is               “opaque at best” in a recent article, Liscombe
 applied today as it was yesterday, and as it           & Rucker, Redistricting in Michigan, Mich Bar
 will be tomorrow.         The constitutional           J, Aug 2020. The Report further summarizes
 guarantees of both due process and equal               a survey of local officials responding to
 protection, for example, are heavily                   questions on the meaning and implications of
 dependent       upon      the     government           “communities of interest.”           Significant
 establishing and abiding by standards. As              numbers of these officials responded that
 this pertains to “communities of interest”—            “there were no significant local COIs” in their
 which the Report describes as our new                  jurisdictions,   that     the    matter     was
 “building blocks“ of democracy—these                   “inapplicable to their jurisdiction,” that they
 standards must ultimately be derived from              “didn’t understand what was being asked,” or
 our constitutions and laws, taking into                that the new constitutional provision was
 account their language, structure, history,            “not legitimate.” In consequence, the Report
 and purpose. In particular, the language of            describes the tenor of these responses as
 Michigan’s constitution must be understood             evidencing “uncertainty or skepticism,” or,
 in the “sense most obvious to the common               perhaps better put, “uncertainty and utter
 understanding . . . as reasonable minds, the           confusion.”      Despite this, the Report
 great mass of the people themselves, would             proceeds to give even the most obscure
 give it.” Traverse City Sch Dist v Att’y Gen,          language of the Amendment meaning, its
 384 Mich 390, 405 (1971), quoting Thomas               own meaning.
 Cooley, Constitutional Limitations. In other
 words, vagueness and unclear language in               Compounding the Confusion
 the Amendment does not warrant the
 Commission ‘making up’ the law, acting in an           Consider, for example, the threshold
 arbitrary fashion, exercising merely personal          question of giving proper meaning to the
 discretion, or formulating rules and                   term “community of interest.” The definition
 procedures on a case-by-case basis. This is            in the Amendment is already highly
 not how the rule of law operates, particularly         confusing, stating merely that the term “may
 where the most fundamental institutions of             include, but are not limited to” populations
 our representative architecture are being              that    “share     cultural   or     historical
 constructed.                                           characteristics or economic interests.” The
                                                        Report then proceeds to compound what is
 “Subjective” & “Not Well-Defined”                      confusing about the Amendment by
                                                        introducing a host of additional and equally
 What makes the meaning of “communities of              amorphous concepts, including: “racial,
 interest” in Const 1963, art IV, § 6, 13(c), so        ethnic, and religious identities”; “common
 challenging is not only the potentially                bonds”; “link[age] to a set of public policy



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 issues that are affected by legislation”;                The   following      are   several     specific
 “shared vision[s] of the future of a                     observations in this regard:
 community”; “communities concerned about
 environmental hazards”; “media markets”;                 1. The Report asserts that “communities of
 “affinity    groups      among       neighboring            interest” must be somehow “linked” to a
 jurisdictions”; “invisible [“communities of                 “public policy issue that [is] affected by
 interest”];         “like-minded          nearby            legislation.” Why must this be so? What
 communities”; “shared identities”; “what                    if a “community” is simply distinguished
 binds [the] community together”; “how the                   by the warmth and neighborliness of its
 community currently engages with the                        people; by people with a common love for
 political process”; “particular governmental                the outdoors and who revel in local
 policies that are high priority”; “nearby areas             recreational opportunities; by people
 whose inclusion . . . would strengthen . . . and            enamored with the peace and quiet of the
 weaken representation for your community                    community; by people who relish the
 of interest”; and “metrics to transform [the                quality of local schools, libraries, shops or
 term] ‘reflect’ into a clear measure of                     restaurants; or by people who simply
 compliance       with     [the     Amendment’s              appreciate its proximity to their place of
 redistricting] criteria.” All of this occurs with           work or to family members, or its
 little explanation or analysis, and with no                 affordability? What, of course, is logically
 reference      whatsoever       to     Michigan’s           implicit but unstated in the Report’s
 constitutional history.       Of course, such               assertion is that there must also be some
 complexity and convolution would be                         common point-of-view on the “public
 unnecessary if the Report viewed the                        policy issue that [is] affected by
 Commission’s work as “merely” redistricting                 legislation,” lest the “community of
 Michigan in a “fair-minded, neutral, and non-               interest” join people among whom there
 partisan” way. But far more is required if the              is actually an absence of agreement on
 “building block” of our democracy is to be                  the “public policy issues.” And if there
 reconfigured in pursuit of a reimagined                     must be a common point-of-view on a
 “theory of representation.”                                 “public policy issue that [is] affected by
                                                             legislation,” how is this consideration any
 Reflections on Report                                       different from the partisan considerations
                                                             that were meant to be precluded by the
 It is not entirely the fault of the Report’s                Amendment in the first place? After all,
 authors for promoting an incorrect                          attitudes toward “public policy issues that
 understanding of “communities of interest”                  [are] affected by legislation” are exactly
 because this term, as used in the                           what characterizes American political
 Amendment, is defined inadequately and                      parties. They are not fraternities or
 confusingly. Nonetheless, the Report is                     sororities, social clubs, or charitable
 deeply flawed, and there is a far more                      societies, but rather groupings of citizens,
 reasonable understanding of “communities                    broadly sharing “common points-of-view”
 of interest” that should guide the work of the              on the role and responsibilities of
 Commission, not only to render its efforts in               government, and separated from other
 better accord with our Constitution, but also               groupings of citizens, broadly sharing
 to render this work more broadly unifying.                  “contrary points-of-view.” Indeed, by the
                                                             Report’s own understanding, the political



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    party itself might be defined as a                      community? Is there a single citizen of
    “community of interest,” except that it                 Michigan with an allegiance to his or her
    was a dominant purpose of the                           NBC media market? Or a felt sense of
    Amendment to reduce partisan influence                  attachment to his or her local “enterprise
    within the redistricting process, not to                zone?” Or a kinship with fellow-citizens
    heighten it.                                            within his or her “transportation district?”
                                                            Or a bond with his or her “special
 2. Furthermore, the Report’s “linkage”                     assessment tax district?” Are these the
    requirement, apparently encompassing                    types of “building blocks” of a democracy
    those with common “racial, ethnic, and                  to which a free citizenry would profess
    religious identities,” is seemingly in                  their sense of community? If so, what
    tension with its own definition of                      about such “communities of interest” as
    “communities of interest.” Is the premise               those based upon sewer districts,
    of the Report that those possessing                     subdivisions,     apartment       complexes,
    common “racial, ethnic, and religious”                  zoning categories, health care centers,
    identities will also tend to possess                    tourist areas, policing, firefighting and 911
    common attitudes on “public policy                      precincts,     downtown         development
    issues?”       Or is its premise that                   districts, parks and recreational areas, zip-
    “communities of interest” should be                     codes, nursing homes, strip malls, and
    defined along more narrow, but also more                internet protocol addresses? All this to
    politicized, lines such as, joining together            avoid giving consideration to the most
    “Asian-American communities favoring                    genuine of our “communities of interest”
    globalist and international perspectives,”              —counties, cities and townships, the
    “Hispanic communities with liberal                      places where people actually live their
    points-of-view,”         or        “Christian           lives.
    communities with socially conservative
    attitudes?” In either case, the “linkage”            4. The Report specifies shared “racial,
    requirement is inexplicable in both its                 ethnic, or religious identities” as potential
    rationale and its requirements.                         “communities of interest” in the
                                                            redistricting process, while excluding
 3. The Report enumerates a variety of                      without explanation other standard civil
    “geographically-oriented” groupings that                rights categories, including nationality,
    “may” give rise to “communities of                      age, alienage, citizenship, gender, sexual
    interest,” including those predicated upon              preference, and handicap. The Report
    common “media markets,” “enterprise                     specifically offers “racial, ethnic, or
    zones,” “special assessment tax districts,”             religious identities” under the “may
    and “transportation districts”.        The              include” language of the Amendment,
    Commission should bear in mind that                     rather than under its “diverse population”
    recommendations of this sort are                        language, perhaps because it recognizes
    intended to preclude the Commission                     that Michiganders are “diverse” in many
    from treating actual communities—                       ways that have nothing to do with identity
    counties, cities, townships, and villages—              considerations.       However, the truly
    as “communities of interest.” Moreover,                 overarching question is one the Report
    are any of the examples set forth by the                neither asks nor answers: did the people
    Report indicative in any way of a bona fide             of Michigan who ratified this Amendment



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    share a “common understanding” that, for                 of “public employment, public education,
    the first time in Michigan’s history, its                and public contracting.” Are these two
    Constitution would impose an affirmative                 express constitutional provisions relevant
    obligation upon the state to take “race,                 in affording some understanding of what
    ethnicity, and religion” into account in                 the people meant, and did not mean, in
    setting public policy even though that                   2018      in   ratifying   the     present
    dictate, and those terms, nowhere appear                 Amendment?
    in the Amendment? And did these same
    people     also     share   a    “common              6. The Report states that, “communities
    understanding” that, for the first time in               concerned about environmental hazards”
    Michigan’s history, its Constitution would               “may”      also    be    designated     as
    impose an affirmative obligation upon the                “communities of interest.” What about
    state to arrange and configure electoral                 communities concerned about the
    districts and political influence on the                 adequacy of policing or firefighting
    basis of express calculations of “race,                  resources; communities concerned about
    ethnicity, and religion?”                                the     quality   of   local   education;
                                                             communities concerned about road
 5. And in this same regard, what is the                     infrastructure; or even communities
    relevance of Const 1963, art I, § 2? (“No                concerned about levels of property
    person shall be denied the equal                         taxation resulting from the policies
    protection of the laws; nor shall any                    favored by communities concerned about
    person be denied the enjoyment of his                    environmental hazards?         Does this
    civil or political rights or be discriminated            singular and specific recommendation of
    against in the exercise thereof because of               the Report, not offered as an illustration
    religion, race, color or national origin.”) Is           but as a formal recommendation, strike
    the redistricting process not a zero-sum                 the Commissioners as satisfying the
    process, in which advantages accorded to                 standards of “fair-mindedness, neutrality,
    one “community of interest” on the basis                 and non-partisanship,” to which the
    of “race, ethnicity, or religion” come                   Commission itself is constitutionally
    necessarily at the expense of other                      obligated?
    “communities of interest,” and other
    individuals?       Moreover, what is the              7. The Report observes that communities
    relevance of Const 1963, art I, § 26,                    with a “shared vision of the future of a
    enacted by an earlier constitutional                     community” may also be designated as
    initiative of the people in 2006, in                     “communities of interest” (16). Does this
    supplying evidence of the people’s                       really describe an inquiry of the sort that
    “common understanding” of the present                    the Commission wishes to undertake, to
    Amendment? The 2006 provision forbids                    distinguish between communities with
    the state—including expressly the                        and without a “shared vision” of the future
    “University of Michigan,” the sponsors of                and then to ascertain which specific
    the       Report       in     question—from              “shared visions” should be given priority
    “discriminating against, or granting                     as “communities of interest?”          The
    preferential treatment to, any individual                Commission should reject this invitation
    or group on the basis of race, sex, color,               to serve as the “Planning Commission for
    ethnicity, or national origin,” in the realms            the 21st Century” or as Michigan’s



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    philosopher-kings. Still, let us ask the               error and a lost opportunity to bring the
    obvious: what evidence of consensus                    people of our state together in the
    would conceivably demonstrate a “shared                contentious process of redistricting
    community vision?” How would this be                   rather than dividing them further. The
    demonstrated in the course of the                      Commission of thirteen engaged and
    Commission’s hearings? What would                      public-spirited citizens should instead
    define a sufficiently ennobling “vision” to            operate faithfully within its charter, act
    warrant recognition as a “community of                 with energy and integrity in pursuit of its
    interest?”    That the schools of the                  constitutional purpose, and define a
    community might some day provide a                     responsible and lasting legacy for the
    quality education for every student                    generations of Commissioners who will
    without regard to race, ethnicity, or                  follow in the years ahead.
    religion? That the community might
    remain peaceable and responsibly                    Analysis: Counties
    policed? That a supportive ethic among
    neighbors might arise and be sustained?             What follows is an analysis concerning how
    That small businesses might prosper?                the Commission should give reasonable and
    Perhaps relevant to these inquiries, the            faithful meaning to the concept of
    Hillsdale College community of more than            “communities of interest” in Const 1963, art
    6000 people also harbor what it believes            4, § 6, 13 (c). Just as there is no reference in
    to be a shared, and deeply-held,                    the Report to the Apol standards that have
    educational and moral vision for the                long guided the redistricting process in
    future of the College, and it has adhered           Michigan, there is also no reference to
    to this vision for 175 years. Doubtless, it         relevant decisions of the Michigan Supreme
    is a distinctive vision from that of the            Court—the highest tribunal of our state and a
    University of Michigan, but it is no less of        court possessing the authority to review the
    a vision and each of our institutions, and          legal determinations of the Commission.
    our student bodies, are enhanced by                 Const 1963, art 4, § 6, 18-20. There is an utter
    these visions. No public body, however              absence of historical memory in the Report.
    capable and enlightened its members                 In 1982, in the course of reviewing the state’s
    might be, should be engaged in                      proposed redistricting plan, the Michigan
    comparing and ranking community                     Supreme Court unanimously held,
    “visions.” The Commission would be
    acting wisely and responsibly in rejecting             We see in the constitutional history of this
    this recommendation.                                   state dominant commitments to . . .
                                                           single-member districts drawn along
 8. Finally, by the sheer breadth and invented             boundary lines of local units of
    character of its recommendations, the                  government . . . Michigan has a consistent
    Report defines for the Commission a                    constitutional history of combining less
    mission that extends well beyond                       populous counties and          subdividing
    eliminating partisan advantage, ending                 populous counties to      form     election
    legislative self-dealing, and curtailing               districts. As a result, county lines have
    gerrymandering in the redistricting                    remained inviolate.      The reason for
    process. For the Commission to succumb                 following county lines was not the
    to this mission would constitute grievous              “political unit” theory of representation,



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    but    rather   that    each    Michigan                1908 constitution continued those rules,
    Constitution has required preservation of               though it permitted municipalities to be
    the electoral autonomy of the counties.                 broken where they crossed county
    In re Apportionment-1982, 413 Mich 149,                 lines. Const. 1908, art. 5, §§ 2-3. In re
    187 (1982) (emphasis added).                            Apportionment-1992, 486 Mich 715, 716,
                                                            716 n 6 (1992).
 And two Justices, Levin and Fitzgerald, in a
 bipartisan concurrence, separately wrote in             Although without the slightest doubt, our
 this same regard,                                       Constitution can be changed or altered by
                                                         amendment, as it has been here, a
    The     “constitutional    requirements”             responsible       assessment       of      new
    concerning county, city and township                 constitutional language would take into
    lines, which preserve the autonomy of                account the interpretive counsel that might
    local government subdivisions . . . were             be derived from past constitutional
    not part of the political compromise                 provisions and court decisions. And in that
    reflected   in    the   weighted    land             regard, what the above decisions indicate is
    area/population formulae. [Rather,] they             that, at least through 2018, “preservation of
    are [among] separate requirements which              the electoral autonomy of the counties” was
    carry forward provisions and concepts                viewed by the highest court of this state as a
    which extend back over 100 years from                substantial constitutional value, and reflected
    the Constitution of 1850 through the                 in our state’s redistricting processes in 1982
    Constitution of 1908 and the 1952                    and 1992 (and since) by the application of the
    amendment         thereto.     In     re             Apol standards upholding where reasonably
    Apportionment-1982, 413 Mich 96,                     possible the integrity of county and municipal
    139n24 (1982) (emphasis added).                      boundaries. Moreover, in assessing the
                                                         “common understanding” of the people who
                                                         ratified the Amendment in 2018, and in
 And the Court unanimously reiterated this               reviewing the language of the Amendment
 same constitutional understanding in                    itself, we see no evidence that this
 assessing Michigan’s 1992 redistricting,                constitutional value has been repudiated.

    Recognizing      the     importance        of        Analysis: Judicial Use of “Communities
    local communities, and the harm that                 of Interest”
    would result from splitting the political
    influence of these communities, each of              The Report incorrectly states that the
    [our    past]   constitutions      explicitly        concept of “communities of interest” is an
    protected jurisdictional lines . . . For             entirely “new” concept in Michigan law. It is
    instance, the 1835 constitution said that            not.    For example, in the course of a
    no county line could be broken in                    unanimous decision of the Michigan Supreme
    apportioning the Senate. Const. 1835, art.           Court addressing the 1982 redistricting
    4, § 6. The 1850 constitution repeated               process, the following observations were
    that rule and added that no city or                  made in a full concurrence to that decision by
    township could be divided in forming a               Justices Levin and Fitzgerald,
    representative's district. Const. 1850, art.
    4, §§ 2-3. [And as] originally enacted, the



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   The Court considered whether, when                      facilitating elections and preserving
   cities or townships must be shifted, there              communities of interest. Once the rule of
   should be shifted (i) the number of cities              following county boundary lines yielded
   or townships necessary to equalize the                  to the principle of ‘entitlement’, the Court
   population of the two districts, or (ii) only           could not pretend to have a neutral and
   the number of cities or townships                       objective set of guidelines.          In re
   necessary to bring the districts within the             Apportionment of State Legislature- 1982,
   range of allowable divergence. The Court                413 Mich 149, 193-5 (1982).
   concluded that the concept of minimizing
   the breaking of county lines extended to             Each of these judicial excerpts employs
   the shifting of cities and townships. A              “communities of interest” in a context
   county is kept more intact as a community            referring to municipal boundaries and each
   of interest, and fewer special election              was specifically made in the course of
   districts must be created, when the                  assessing the ‘Apol standards,’ with its
   minimum necessary number of cities or                emphasis upon preserving such boundaries
   townships     are    shifted.       In     re        wherever reasonably possible. The Supreme
   Apportionment of State Legislature- 1982,            Court in the 1992 redistricting process again
   413 Mich 149, 155n 8 (1982).                         addressed the term and similarly observed,

                       ***                                 The Masters determined that none of the
                                                           plans submitted to them was satisfactory.
   There remained the possibility that two                 They stated that these plans ‘either fail to
   sets of cities or townships might satisfy               comply with the 1982 [Apol] criteria or do
   the above rule; for example, each of two                so only facially.’    Further, the plans
   townships might contain the population                  exhibited ‘a disregard of some specific
   required to be shifted. The Court again                 criteria, such as community of interest. . .
   concluded that the concept of preserving                . Thus the Masters drew their own plan. In
   counties as communities of interest to the              doing so, they followed the same criteria
   fullest extent possible required that                   used by Mr. Apol in 1982 In re
   the township or set of townships with                   Apportionment of State Legislature-1992,
   the fewest people necessary should be                   437 Mich 715, 724 (1992).
   shifted. In re Apportionment of State
   Legislature- 1982, 413 Mich 149, 155n 8                                    ***
   (1982).
                                                           A     legislator  [can    represent     his
                       ***                                 constituents] only if there is some
                                                           real community of interest among the
   The flaw in this method [of redistricting]              represented group — without that, the
   is that it artificially divides the counties            legislator cannot speak effectively on the
   into two groups, treating one group                     group's behalf. When a small portion of a
   differently than another . . . The historical           jurisdiction is split from the remaining
   [redistricting] practice of following county            body and affixed to another governmental
   lines never rose to a level of a principle of           entity in order to reduce population
   justice, [but] it has always been simply a              divergence, the shifted area is likely to
   device for controlling gerrymandering,                  lose a great portion of its political



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    influence. For that compelling reason,               of § 13(c) does not set forth anything that
    grounded in sound public policy, all four            “shall” or “must” be designated as a
    Michigan Constitutions have provided                 “community of interest” and thus, by cross
    that jurisdictional lines, particularly              reference, also does not set forth anything
    county lines, are to be honored in the               within the first sentence that “shall” or “must”
    apportionment process. Id. at 732-33.                be reflected within an electoral district.
                                                         Instead, the second sentence communicates
                        ***                              only that certain groups “may” be included as
                                                         a “community of interest” and that a
    Nor did the parties' proofs sufficiently             “community of interest” is not “limited to”
    demonstrate                                          such groups. It defines nothing that “shall” or
    a community of interest between     and              “must” be treated as such a community. As a
    among the voter populations of Oakland               result, when viewed together, the operative
    County and the voter populations of the              language of the Amendment, the first
    City of Detroit and Wayne County. Id. at             sentence of § 13(c), provides only that
    737 n 50.                                            communities of interest “shall” be reflected in
                                                         the redistricting process but only if they have
 There is, of course, additional language                been designated in the first place. The
 within Const 1963, art IV, § 6, 13(c), that must        problem in focusing upon § 13(c), without
 also be taken into consideration in giving              also assessing § 13 as a whole, is that there
 meaning to “communities of interest” in the             may be no designated “communities of
 new Amendment.            By these excerpts,            interest” that “shall” or “must” be reflected
 however, it is clear that the slate is not quite        within electoral districts, despite an obvious
 as blank concerning the meaning of                      intention that there be such communities.
 “communities of interest” as the Report
 would suggest. Especially in the context of an          Analysis: § 13(f)
 Amendment focused upon redistricting, and
 in which the critical term has been asserted            While the conundrum posed in the previous
 by the Report to be “new,” it might be                  paragraph—that there may be no “community
 thought that clarifying language from                   of interest” at all to be considered in the
 Michigan’s highest court in the two most                redistricting      process—reflects          one
 significant redistricting decisions of the past         conceivable understanding of § 13(c), it is not
 half-century would be welcomed and closely              the most reasonable understanding. Rather,
 considered. And it is clear that the term has           a more reasonable understanding of § 13(c),
 specifically been understood to refer to                would be to read § 13 as a whole, and to
 municipal communities and their boundaries.             include as “communities of interest” precisely
                                                         the entities described in § 13(f): the “counties,
 Analysis: § 13(c)                                       cities, and townships,” whose boundaries
                                                         “shall” be reflected in the redistricting
 Next, with regard to the language of the                process. Indeed, these are the only entities in
 Amendment itself, the first sentence of §               the Amendment whose relevance in the
 13(c) specifies that the only entities that             redistricting process is made constitutionally
 “shall” or “must” be reflected within an                mandatory and not merely a product of the
 electoral district are “communities of                  Commission’s discretion, thus avoiding any
 interest,”   and   the   “state’s   diverse             possibility that the consideration of
 population.” However, the second sentence


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 “communities of interest” in the process is              governed by the following guidelines in
 rendered a nullity by the absence of any                 the stated order of importance: “The
 “community of interest” being designated                 stated order is: (a) equality of population
 pursuant to the second sentence of § 13(c).              as nearly as is practicable; (b) contiguity;
 This understanding is made even more                     (c) compact and as nearly square in shape
 compelling by the fact that such “counties,              as is practicable; (d, e, f) not joining
 cities, and townships” are reasonably                    townships with cities and not dividing
 understood as the actual “communities of                 townships, villages, cities or precincts
 interest” referred to in the first sentence of §         unless necessary to meet the population
 13(c). As result, an understanding of § 13 that          standard; (g) not counting residents of
 harmonizes its subsections (c) and (f), which            state institutions who cannot vote; and
 is the obligation of any interpreter of a                (h) that the district lines not be drawn to
 provision of law, not only offers a more                 effect partisan political advantage.
 reasonable understanding of § 13(c) by filling
 in its gaps, but it is an understanding in               If the stated order requires exhaustive
 closest accord with the genuine meaning of               compliance with each criterion before
 the term “community of interest” in Michigan             turning to a succeeding criterion, then
 redistricting law and history.                           criteria (a) through (c) alone would be
                                                          determinative and criteria (d) through (f)
 Analysis: Priorities                                     could not be given any effect.

 The Report not only fails to harmonize § 13(c)           There are an endless number of ways in
 and § 13(f), but seeks to “deprioritize” the             which one could construct the district
 latter provision (requiring the consideration            lines consistent with criterion (a), equality
 of “counties, cities, and townships”) on the             of population, and criterion (b),
 grounds of its relative “order of priority within        contiguity. Criterion (c) requires that all
 § 13.” While such an “order of priority” makes           districts shall be as compact and as nearly
 sense in defining the organization or                    square in shape as is practicable,
 sequence of the process by which electoral               depending on the geography of the
 districts are to be constructed, it runs the             county area involved. Read literally and
 risk—one the Report seems content to run—                given an absolute priority, that criterion
 that such an “order of priority” will effectively        would require that the district lines be
 read out of the Constitution, or nullify,                drawn without regard to township,
 express constitutional provisions, in this               village, city or precinct lines. The
 instance, § 13(f) and its exclusive requirement          apportionment of a county would [then]
 that “counties, cities, and townships” “shall”           be a mechanical task.
 be considered in the redistricting process. To
 understand this concern, we must again                                       ***
 review decisions of the Michigan Supreme
 Court:                                                   We reject such a rigid reading of “stated
                                                          order” because so read:
    [The challenged law in issue] provides for
    the       establishment         of       a                                ***
    county apportionment commission and
    that such a commission “shall be



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    (c) It would give no effect whatsoever to          and play with friends, compete in sports,
    criteria (d) through (f) concerning the            participate in extracurricular activities, and
    preservation of township, city, village and        grow to maturity; where they work, shop,
    precinct lines, and thereby make                   dine, and participate in acts of charity; where
    meaningless those provisions. It is our            their taxes are paid, votes cast, and library
    duty to read the statute as a whole and to         books borrowed; and where their police and
    avoid a construction which renders                 firefighters serve and protect. In short, these
    meaningless provisions that clearly were           places are meaningful to every Michigander,
    to have effect. Appeal of Apportionment            for they serve to define what we call “home”
    of Wayne County-1982, 413 Mich 224,                and they signify to the rest of the world where
    258-59     (1982); see also In           re        we are “from.”        Nonetheless, with no
    Apportionment of State Legislature-1992,           explanation or analysis, the Report summarily
    439 Mich 715, 742n 65 (1992).                      and confidently assures the Commission that
                                                       a “community of interest is not a political
 In sum, the UM Report seeks, first, to exclude        jurisdiction.”
 “counties, cities, and townships” from within
 the purview of the “community of interest”;           Analysis: Fairness
 second, to elevate the role of its own
 preferred “communities of interest” by giving         The Report defines “communities of interest”
 emphasis to the “may include, but are not             on the basis of “race, ethnicity, and religion;”
 limited to” language of the Amendment; and,           “media markets;” “environmental hazards;”
 third, to “deprioritize” and thereby “preempt”        “creative arts;” “shared visions of the future;”
 from any material role in the redistricting           “immigrant communities;” and “linkages to a
 process “counties, cities, and townships.”            set of public policy issues that are affected by
 None of these approaches—by concocting                legislation”—none of which is found
 creative and dubious “communities of                  anywhere within the law, except that each
 interest” one the one hand, and by excluding          fits, as would any other conceivable entity,
 the most obvious and historically-grounded            within the “may include, but are not limited
 “communities of interest” on the other—               to” language of § 13(c). Yet, the most
 constitute a fair or reasonable way of                obvious and genuine “communities of
 understanding the Amendment.                          interest”—the       “counties,    cities,   and
                                                       townships” of Michigan, the only entitles that
 Analysis: Home                                        “shall” be given consideration in the
                                                       redistricting process under the Amendment—
 “Counties, cities, and townships” are not only        are to be excluded from the term. This is done
 reasonably understood as our fundamental              without the slightest consideration for what
 “communities of interest” on the basis of             may be the greatest strength of treating our
 judicial decisions and historical practice, as        “counties,       cities,     townships”       as
 well as a close analysis of the Amendment             “communities of interests”—namely, that
 itself, but also in terms of how the ordinary         every Michigan citizen is an equal part of this
 citizen would understand this concept. Such           “community of interest” and there is no other
 communities are where the people reside;              “community          of     interest”      whose
 where they sleep, play, relax, worship, and           establishment would be more “fair-minded,
 mix with families, friends and neighbors;             neutral, and non-partisan.” That is, the
 where their children attend schools, make             definition proposed here—“communities of



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 interest” based upon “communities” of                     michigans-new-approach-to-redistricting-
 “interest”—has at least the minor virtue of               recommendations, Aug 31, 2020.) While its
 enabling the Commission to avoid struggling               theory is indeed new to the history of
 with the impossible, and inapt, question,                 American constitutionalism, it is foreign to it
 “which citizens should count, and which                   as well. It is a “new theory” that replaces the
 should count more and which should count                  citizen with the interest group as the core of
 less?”                                                    the democratic process; a “new theory” that
                                                           enhances the role of race, ethnicity, and
 Analysis: Gerrymandering                                  religion in the construction of electoral
                                                           districts; a “new theory” that substitutes for
 The Amendment was popularly headlined as                  the ideal of equal citizenship that of favored
 an “anti-gerrymandering” measure in such                  and disfavored voting blocs; a “new theory”
 media as the Detroit Free Press (November 7,              that replaces partisanship with ideology; a
 2018). Yet the Report, in its disdain for                 “new theory” that seeks to build a new
 municipal “communities of interest”, and in               political foundation upon the judgments of
 its preference for the dislocated and erratic             ‘experts’ rather than those of ordinary
 boundaries of interest and identity groups, is            citizens. Although the author’s assertion that
 far more likely to give rise to districts that are        his Report’s recommendations are “unique
 truly gerrymandered, albeit in different ways             and interesting” may be also correct, these do
 than they may sometimes have been                         not have much to do with the intentions of
 gerrymandered in the past. Relying upon                   several million citizens who cast their votes
 county, city, and township lines is simply the            for Proposition 2.
 most certain and fair-minded way of avoiding
 gerrymandering altogether, for there is no                Analysis: Summary
 more neutral and established boundary, with
 almost all of these having been created either            In summary, regarding the threshold policy
 pre-statehood (as with Wayne County in                    question that must be addressed by the
 1796) or shortly thereafter. District maps                Commission—the         meaning       of     the
 produced in accordance with the Report will               “community       of   interest”—the     Report
 not only appear oddly-shaped and irregular,               essentially asserts that almost any entity, any
 but they will appear to be so precisely                   asserted “community,” can be included
 because they will have been constructed in                within the “may include, but are not limited
 pursuit    of traditional       gerrymandering            to” language of § 13(c) and thus be
 considerations, dividing our citizens into                considered as a “community of interest,” with
 winners and losers.                                       the singular and remarkable exception of the
                                                           most genuine of these communities, our
 Analysis: “A New Theory of                                “counties, cities, and townships.” These are
 Representation”                                           to be excluded, despite the fact:

 In a press release from the University of                  That “counties, cities, and townships” are
 Michigan, the author of the Report has stated               by any reasonable and ordinary definition
 that the Report’s recommendations offer a                   of the term actual “communities of
 “new      theory      of     representation.”               interest;”
 (closup.umich.edu/policy-reports/18/the-
 role-of-communities-of-interest-in-


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  That “communities of interests” has been                “counties, cities and townships” referred
   defined in Michigan Supreme Court                       to in § 13(f) are precisely the
   decisions to refer principally to “counties,            “communities of interests” referenced in
   cities, and townships;”                                 the first sentence of § 13(c).

  That such Michigan Supreme Court                     Authority of the People
   decisions have pertained specifically and
   directly to the state’s redistricting                In response to this Memorandum, the authors
   process;                                             of the Report may contend that the people of
                                                        Michigan through their constitutional
  That      “communities       of    interest,”        amendment process are entitled to repudiate
   understood in the context of the ‘Apol               the Apol standards, the decisions of the
   standards,’ which have guided Michigan               Michigan Supreme Court, and historical
   redistricting since at least 1982, have also         redistricting practices. This Memorandum
   been understood in terms of “counties,               would not dispute such an assertion, only
   cities, and townships; ”                             that this is not what the people have, done by
                                                        the present Amendment. While the law of
  That “counties, cities, and townships” are           Michigan has been modified in important
   the only entities that “shall” be reflected          regards—most significantly, by conferring the
   in the redistricting process and there is no         authority to administer the redistricting
   alternative definition in the Amendment              process upon the Commission instead of the
   of what “shall” be considered a                      Legislature—what the people have not done
   ‘community of interest;”                             is enact obligatory changes in what is meant
                                                        by the “community of interest.” While the
  That “counties, cities, and townships,” as           term has been made subject to change at the
   with every other entity the Report would             discretion of the Commission, the standards,
   include within “communities of interests”            decisions, and practices addressed in this
   on the basis of the “may include, but are            Memorandum largely pertain to the
   not limited to” language of § 13(c),                 mandatory obligations of the Commission in
   obviously could also be included on this             giving meaning to the “community of
   same basis;                                          interest.”        (“Districts   shall   reflect
                                                        consideration of county, city, and township
  That “counties, cities, and townships”               boundaries.”) In other words, while the
   would seem to be the most obvious                    Commission may possess the discretion to
   “communities” for inclusion within the               redefine the “community of interest,” it also
   Amendment’s          undefined       and             possesses the obligation to consider
   discretionary “community of interest”                geographic “communities of interest. The
   categories      of    “shared    cultural            Commission should act to carry out its
   characteristics,”   “shared    historical            obligations under the Amendment while at
   characteristics,” and “shared economic               the same time exercising its discretion not to
   interests;” and                                      act beyond those obligations in designating
                                                        “communities of interest.”        This would
  That  the    most    reasonable    and               constitute the wisest and most responsible
   harmonized understanding of § 13 of the              exercise of authority by the Commission and
   Amendment strongly suggests that the                 nothing in the debate over Proposition 2 or in



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 the assessment of the people’s “common
 understanding” or in the language of the
 Amendment compels any different result.

 Conclusion

 Districts should be drawn according to the
 proposition that each voter should be
 rendered as equal as possible in his or her
 participation and influence in the democratic
 process and as individual citizens, rather than
 as members of interest groups, and that
 districts should be drawn with a view to
 uniting rather than dividing society. The
 guiding ideal should be that the purpose of
 government is to secure the rights of
 individual citizens, their common good, and
 the strengthening of the right of all of our
 people to pursue happiness under our federal
 and state constitutions. The best way for the
 Commission to accomplish this is to rely upon
 the longstanding definition of “communities
 of interest” as being primarily “counties,
 cities, and townships.”




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                    COMMISSIONER RECOMMENDATIONS
 Respectfully, the Independent Citizens Redistricting Commission should consider the following
 recommendations in carrying out its responsibilities under the Amendment:

    1. The Commissioners should seek in their decisions to act in a fair-minded, neutral, and non-
       partisan manner, in accordance with their responsibilities under the Constitution and in
       accordance with “common understandings” of the Amendment by the people of our state.

    2. The Commissioners should work to secure an understanding and perspective, not only of
       the Amendment and our state’s redistricting process, but of the principles and values
       underlying our two constitutions. You should be guided in this process by your own best
       judgments as independent citizens and by the legal framework to which “we the people”
       have assented, not by the judgments of unelected ‘experts.’

    3. The Commissioners should take care in the redistricting process to maintain and preserve
       the greatest institution of our people, representative self-government under constitutional
       rules and principles.

    4. The Commissioners should bear in mind that as formative members of the Commission,
       your decisions and judgments will continue to guide the Commission in the years ahead as
       partisan majorities, political incumbents, and legislative debates ebb and flow. Your legacy
       will far outlast your public service, and so requires wisdom and foresight.

    5. The Commissioners should show modesty in carrying out their mission. What the people
       of Michigan understand most clearly of your work is that you have replaced the Legislature
       in the decennial process of reconstructing our electoral districts. Do not succumb to the
       invitations of “experts” to broaden what is already a substantial and daunting mission. As
       with all responsible public servants, you must act within your authority and not within your
       power.

    6. The Commissioners should show humility in recognizing that, however capable and
       committed each of you might be, you are nonetheless in the unusual position of exercising
       crucial public responsibilities without ever having been elected or confirmed to your
       position by a democratic vote of those whom you now represent.

    7. The Commissioners should avoid becoming enmeshed or embedded within factions or
       coalitions on the Commission. You are a single Commission representing a single people.

    8. The Commissioners should act as nonpartisans, not bipartisan. Although the presence of
       independent members of the Commission is one important means of achieving a
       nonpartisan process, so too are members of the Commission with partisan backgrounds
       who respect that their constitutional obligation is to avoid a “disproportionate advantage
       to a political party.” Each of you thus constitutes your own personal “check and balance”
       upon the Commission to ensure that it acts in the necessary manner.


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   9. The Commissioners must subordinate their individual attitudes and allegiances to the
      requirements of the law. As with all public officers, your personal codes and consciences
      must conform to the rule of law.

   10. The Commissioners should maintain their independence from political parties, incumbents,
       blocs, experts, interest groups, aspirant ‘communities of interest,’ and even from one
       another, but you cannot be independent of the people or their laws and constitutions.

   11. The Commissioners should not seek or accept outside funding, or enter into partnerships,
       or engage in outreach with businesses, foundations, philanthropic organizations, non-
       profits, or educational institutions, as has been urged upon you. Yours is an independent
       citizens commission, and the only reason these actions would be necessary would be if you
       were to expand upon your mission. Do not leave as your legacy one more expensive
       governmental bureaucracy and carefully consider how dispiriting it would be to the people
       of this state if this Commission was to abuse its power and position.



                     REDISTRICTING RECOMMENDATIONS
   1.   Consider carefully the Apol standards and its variations. Do not assume that these
        standards were repudiated in 2018 or that they contributed in any way to partisanship,
        legislative self-interest and self-dealing, or gerrymandering in the redistricting process. Do
        not close yourself to learning from past practice and historical experience. Although with
        exceptions, the history of Michigan has, by and large, been one of honest and responsible
        government.

   2. Consider defining “communities of interest” exclusively on the basis of fair-minded,
      neutral, and non-partisan applications of “county, city, and township” boundaries. Every
      Michigan citizen is equally a member of such “communities of interest.” Once you begin
      to exercise increasingly broad discretion in defining and creating new “communities of
      interests,” you will inevitably begin to pit citizens and interests against each other.
      Resolving these disputes will inevitably place yourselves and the Commission into the type
      of political process the Commission was meant to transcend.

   3. Consider carefully whether you wish to introduce explicit considerations of “race, ethnicity,
      and religion” into the redistricting process. Not only will such considerations come at the
      expense of other “races, ethnicities, and religions,” but such policies implicate our nation’s
      most profound and divisive issues. To paraphrase former U.S. Supreme Court Justice
      William O. Douglas, “When such lines are drawn by the State, the diverse communities that
      our Constitution seeks to weld together become separated, and antagonisms are
      generated that relate to ‘race, ethnicity, and religion,’ rather than to political issues.” A
      unifying legacy on the part of the Commission would be a momentous legacy.




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    4. Consider not exercising the Commission’s apparently limitless discretion to create new
       “communities of interests” under its “may include, but are not limited to” authority in §
       13(c). This is truly the broadest-possible and most standardless delegation of power ever
       placed into our Constitution. The language does not reflect well upon the rule of law; do
       not let it also reflect poorly upon the Commission.

    5. Consider carefully the wide variety of means, direct and indirect, obvious and subtle, by
       which legislators and political strategists have sometimes placed partisan and ‘self-
       interested’ thumbs on the scales of redistricting justice. For Members of the Commission
       to do the same would be no step forward in the pursuit of good government. Avoid doing
       acts of partisanship, as well as acts that are tantamount or equivalent to partisanship.

    6. Consider carefully the regularity of shape of the districts you construct. “Gerrymanders”
       are not simply oddly shaped districts, but encompass also districts of a more regular
       character, but with erratic and ‘squiggly’ indentations and protrusions undertaken largely
       to achieve political or partisan purposes.

    7. Consider carefully before you add to the complexity of the redistricting process by the
       adoption of new legal concepts, new statistical measurements, novel types of
       “communities of interests,” amorphous political science terms, new ‘metrics,’ and pseudo-
       scientific concepts of redistricting. None of this complexity and convolution will be
       necessary if the Commission views its responsibilities simply as the preparation of a “fair-
       minded, neutral, and non-partisan” redistricting plan, rather than as “reimagining”
       representative government for Michigan.

    8. Consider carefully the risk of nullifying or distorting express provisions of the Amendment,
       and thereby rewriting the Amendment, by an overly rigid application of the “order” of
       provisions, by reviewing Michigan Supreme Court decisions in this regard. See “Analysis:
       Priorities.”

    9. Consider carefully whether the phrases and concepts you will hear from the ‘experts,’ such
       as “common bonds,” “affinities,” “shared characteristics, “communities,” “identities,” and
       “like-mindedness” are largely employed to divide and separate people, rather than to join
       them together and unify.

    10. Consider carefully whether “communities,” “identities” “interests,” “groups,” or
        “populations” are more strengthened in the political process where their members are
        consolidated within districts or dispersed among districts. Then, consider carefully
        whether endless calculations of this sort are part of the proper and “common
        understanding” of the Commission’s work by the people of Michigan who ratified the
        Amendment.

 ♦ This Memorandum was commissioned by Hillsdale College and authored by Stephen Markman,
 a retired Justice of the Michigan Supreme Court and a Professor of Constitutional Law at the
 College for 28 years.


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